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               IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                          TAMPA DIVISION

                    Case No.:_________________________

UNITED STATES EQUAL                       )
EMPLOYMENT OPPORTUNITY                    )
COMMISSION,                               )
                                          )        COMPLAINT
                                          )
                 Plaintiff,               )
                                          )        JURY TRIAL
                                          )        DEMANDED
     vs.                                  )
                                          )
                                          )
TAMPA BAY DELIVERY SERVICE,               )
LLC                                       )
                                          )
                                          )
                 Defendant.               )
                                          )
___________________________________       )

        PLAINTIFF UNITED STATES EQUAL EMPLOYMENT
         OPPORTUNITY COMMISSION'S COMPLAINT AND
                  DEMAND FOR JURY TRIAL
              [INJUNCTIVE RELIEF REQUESTED]

     This is an action under Title VII of the Civil Rights Act of 1964 and Title

I of the Civil Rights Act of 1991 to correct unlawful employment practices on

the basis of religion and to provide appropriate relief to the Charging Party

Isavion Howard, a Christian, who was who was adversely affected by such

practices. Plaintiff the United States Equal Employment Opportunity

Commission alleges that Defendant, Tampa Bay Delivery Service, LLC

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(“TBDS”), discriminated against Mr. Howard by terminating him because he

could not work on Sundays due to his religious beliefs.

                          JURISDICTION AND VENUE

      1.    Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§

451, 1331, 1337, 1343 and 1345. This action is authorized and instituted

pursuant to Section 706(f)(l) and (3) of Title VII of the Civil Rights Act of

1964, as amended, 42 U.S.C. § 2000e-5(f)(l) and (3), and pursuant to Section

102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

      2.    The employment practices alleged to be unlawful were committed

within the jurisdiction of the United States District Court for the Middle

District of Florida, Tampa Division.

                                     PARTIES

      3.    The EEOC is the agency of the United States of America charged

with the administration, interpretation and enforcement of Title VII and is

expressly authorized to bring this action by 706(f)(1) and (3) of Title VII, 42

U.S.C. § 2000e-5(f)(l) and (3).

      4.    At all relevant times, TBDS has continuously been a corporation

doing business in the State of Florida and has continuously had at least

fifteen (15) employees.




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      5.     At all relevant times, TBDS has continuously been an employer

engaged in an industry affecting commerce within the meaning of Sections

701(b), (g) and (h) of Title VII, 42 U.S.C. §§ 2000e-l(b), (g) and (h).

                      ADMINISTRATIVE PROCEEDINGS

      6.     More than thirty days prior to the institution of this lawsuit, Mr.

Howard filed a charge with the EEOC alleging that TBDS violated Title VII

by discriminating against him on the basis of his religion.

      7.     Prior to the institution of this lawsuit, the EEOC issued a Letter

of Determination to TBDS finding reasonable cause to believe that Title VII

was violated when TBDS terminated Mr. Howard due to his religion. The

Letter of Determination invited TBDS to join with the EEOC in informal

methods of conciliation to endeavor to eliminate the discriminatory practices

and provide appropriate relief.

      8.     Prior to the institution of this lawsuit, the EEOC issued to

Defendant a Notice of Failure of Conciliation advising TBDS that the EEOC

was unable to secure from TBDS a conciliation agreement acceptable to the

EEOC.

      9.     All conditions precedent to the institution of this lawsuit have

been fulfilled.




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                              STATEMENT OF FACTS

        10.     During the relevant time period, Mr. Howard practiced

Christianity and, as part of his religion, attended church on Sundays.

        11.     TBDS is a delivery service provider for Amazon.com in the

Tampa Bay region. TBDS’s principal address is in Dunedin, Florida.

        12.     Mr. Howard applied and interviewed for a delivery driver

position with TBDS in or around May 2019. During his interview, Mr.

Howard notified TBDS that he would not be able to work on Sundays due to

his religion.

        13.     TBDS hired Mr. Howard on or around May 12, 2019.

        14.     TBDS’s owner said that Mr. Howard could have Sundays off to

attend church if Mr. Howard worked on Saturdays. Mr. Howard agreed to

work on Saturdays.

        15.     TBDS scheduled Mr. Howard to work on Sunday, September 8,

2019.

        16.     Mr. Howard notified TBDS that he would not be able to work on

Sunday, September 8, 2019, due to his religion.

        17.     Mr. Howard did not show up for work on Sunday, September 8,

2019, and instead attended church.

        18.     Several other delivery drivers were given the day off on Sunday,

September 8, 2019.

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      19.   That day, TBDS notified Mr. Howard that he was terminated for

violation of attendance standards.

      20.   As a result of TBDS’s terminating him, Mr. Howard was harmed

and suffered damages.


                         STATEMENT OF CLAIMS

      21.   As set forth in paragraphs 10-20, TBDS engaged in unlawful

employment practices in violation of Section 703 of Title VII, 42 U.S.C. §

2000e-2(a)(1), by terminating Mr. Howard’s employment because of his

religion.

      22.   The effect of the practices complained of in paragraphs 10-20

above has been to deprive Mr. Howard of equal employment opportunities

and otherwise adversely affect his status as a delivery driver because of his

religion.

      23.   The unlawful practices complained of in paragraphs 10-20 were

intentional and caused Mr. Howard to suffer emotional distress including,

but not limited to, emotional pain, suffering, humiliation, inconvenience, loss

of enjoyment of life, and/or physical damages.

      24.   The unlawful practices complained of in paragraphs 10-20 were

done with malice or with reckless indifference to the federally protected

rights of Mr. Howard.


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                          PRAYER FOR RELIEF

      Wherefore, the EEOC respectfully requests that this Court:

      A.    Grant a permanent injunction enjoining TBDS, its officers,

agents, servants, employees, attorneys, and all persons in active concert or

participation with it, from making employment decisions (including hiring,

firing, and promoting) based on religion;

      B.    Order TBDS to institute and carry out policies, practices, and

programs which provide equal employment opportunities for employees with

sincerely held religious beliefs and which eradicate the effects of its past and

present unlawful employment practices;

      C.    Order TBDS to institute a training program for all managers and

supervisors to ensure compliance with federal laws and company policies on

nondiscrimination;

      D.    Order TBDS to make whole Mr. Howard by providing appropriate

back pay with prejudgment interest, in amounts to be determined at trial,

and all other affirmative relief necessary to eradicate the effects of the

unlawful employment practices including, but not limited to, reinstatement of

Mr. Howard or front pay in lieu thereof;

      E.    Order Defendant to make whole Mr. Howard by providing

compensation for past and future pecuniary losses resulting from the

unlawful practices described above including, but not limited to, job search

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expenses, medical-related expenses, and other out-of-pocket losses in

amounts to be determined at trial.

       F.    Order Defendant to make whole Mr. Howard by providing

compensation for past and future nonpecuniary losses resulting from the

unlawful practices described above, including but not limited to emotional

pain, suffering, inconvenience, loss of enjoyment of life, and humiliation, in

amounts to be determined at trial;

       G.    Order Defendant to pay Mr. Howard punitive damages for its

malicious and reckless conduct described above, in amounts to be determined

at trial;

       H.    Grant such further relief as the Court deems necessary and

proper in the public interest; and

       I.    Award the Commission its costs of this action.

                           JURY TRIAL DEMAND

       The Commission requests a jury trial on all questions of fact raised by

its Complaint.


Dated: September 29, 2021
                                           Respectfully Submitted,

                                           GWENDOLYN YOUNG REAMS
                                           Acting General Counsel
                                           U.S. Equal Employment
                                           Opportunity Commission
                                           131 M Street, N.E.

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                                        Washington, D.C. 20507

                                        ROBERT E. WEISBERG
                                        Regional Attorney
                                        Florida Bar No: 285676
                                        Email: robert.weisberg@eeoc.gov

                                        KRISTEN FOSLID
                                        Supervisory Trial Attorney
                                        Florida Bar No: 0688681
                                        Email: kristen.foslid@eeoc.gov

                                        U.S. EQUAL EMPLOYMENT
                                        OPPORTUNITY COMMISSION
                                        Miami District Office
                                        Miami Tower
                                        100 S.E. 2nd Street, Suite 1500
                                        Miami, Florida 33131

                                        s/Chelsae Johansen Ford
                                        CHELSAE JOHANSEN FORD
                                        Trial Attorney
                                        Florida Bar No. 106029
                                        Email: Chelsae.Ford@eeoc.gov

                                        U.S. EQUAL EMPLOYMENT
                                        OPPORTUNITY COMMISSION
                                        Tampa Field Office
                                        501 E. Polk Street, Suite 1000
                                        Tampa, FL 33602
                                        Tel: 813.710.9346




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